 Case 5:19-cv-00294-JPB Document 19 Filed 12/07/20 Page 1 of 2 PageID #: 124




                     N THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

JOSEPH L. TYSK,                                       )
                                                      )
               Plaintiff,                             )
                                                      )
       v.                                             )      Civil Action No. 5:19-CV-294
                                                      )      (JUDGE BAILEY)
PROCOLLECT, INC.,                                     )
                                                      )
               Defendant.                             )



                             AGREED DISMISSAL ORDER
       Now come the parties and advise the Court that all matters in controversy herein have

been amicably adjusted, compromised and settled, and move the Court, by counsel, to dismiss

the Complaint against Defendant, with prejudice. The Court, perceiving no objection thereto,

hereby grants said motion, and it is, therefore,

       ORDERED that the Complaint and cause of action of Plaintiff is hereby dismissed, with

prejudice, and this action is hereby stricken from the docket of this Court.

       The Clerk is hereby directed to send a copy of this Order to all counsel of record.

       ENTER this ____ day of ____________, 2020.

                                                      _______________________________
                                                              John Preston Bailey
                                                          United States District Judge


Approved and agreed to by:

/s/ Thomas E. McIntire
Thomas E. McIntire, Esq.
WV State Bar No. 2471
Thomas E. McIntire & Associates, L.C.
82 ½ Fourteenth Street
Wheeling, WV 26003
Counsel for Plaintiff

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 Case 5:19-cv-00294-JPB Document 19 Filed 12/07/20 Page 2 of 2 PageID #: 125




/s/ Nicholas P. Mooney, II
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THIS DOCUMENT PREPARED BY:

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